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           Attorneys for Defendants
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           Jeri Hemmer, Roni Sue, Angelo Gomez,
           and Edward J. Ray


                                    UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON

                                         PORTLAND DIVISION

NATHAN LEE THOMAS,                                                                             CV No. 3:14-cv-00554-SI

                       Plaintiff,                               DEFENDANTS' OPPOSITION TO
                                                                PLAINTIFF'S REVERSAL OF STIPULATED
           v.                                                   PROTECTIVE ORDER AND RELEASE OF
                                                                ALL DOCUMENTATION INTO THE
ANGELA M. METTIE, DAVID T.                                      PUBLIC RECORD
BEARDEN, JERI HEMMER,
RONI SUE, ANGELO GOMEZ, and
EDWARD J. RAY,

                       Defendants.


                    Defendants Angela M. Mettie, David T. Bearden, Jeri Hemmer, Roni Sue, Angelo

Gomez, and Edward J. Ray ("Defendants") oppose Plaintiff's Reversal of Stipulated Protective

Order and Release of All Documentation into the Public Record.




Page 1 -        Defendants' Opposition to Plaintiff's Reversal of Stipulated Protective Order and
                Release of all Documentation into the Public Record
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                 On or about October 10, 2014, the parties entered into and the Court signed a

Stipulated Protective Order (Dkt. 39), which requires that plaintiff Nathan Thomas maintain the

confidentiality of certain documents produced in his lawsuit. The court entered a judgment of

dismissal with prejudice on February 17, 2015. (Dkt. 59). The protective order remains in place

and the court retains jurisdiction with respect to it. (Protective Order at ¶ 16.)

                 On May 1, 2015, Thomas filed a short statement apparently seeking to have the

protective order on file stricken or modified. But Thomas provides no reason the protective

order's confidentiality provisions should be overturned and the documents should be made

public. The documents that are subject to the protective order relate to personnel situations of

Oregon State University employees other than plaintiff.

                 Thomas's statement makes a passing reference to public records laws. But the

public records laws call for protection here, not dissemination. ORS 192.502 provides a personal

privacy exemption from public records for information of a personal and/or medical nature.

ORS 192.502(2). The documents and information marked "confidential" in this case fit squarely

within that exemption, and public disclosure these other employees' records would constitute an

unreasonable invasion of privacy. Defendants do not know what purpose Thomas has for

seeking relief from the protective order but cannot imagine that documents otherwise

confidential and properly subject to a protective order should be used by Thomas in any manner

outside of the litigation.




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             Release of all Documentation into the Public Record
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                 For the above reasons, plaintiff's request for reversal should be denied, and the

Stipulated Protective Order entered into and agreed upon by plaintiff should not be set aside or

modified.



                 DATED this 11th day of May, 2015.

                                                             MILLER NASH GRAHAM & DUNN LLP



                                                             s/Andrea M. Barton
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                                                             Attorneys for Defendants Angela M. Mettie,
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                                                             Angelo Gomez, and Edward J. Ray




Page 3 -     Defendants' Opposition to Plaintiff's Reversal of Stipulated Protective Order and
             Release of all Documentation into the Public Record
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                                      CERTIFICATE OF SERVICE

                 I hereby certify that I served the foregoing Defendants' Opposition to Plaintiff's

Reversal of Stipulated Protective Order and Release of all Documentation into the Public Record

on:


                             Nathan Lee Thomas
                             Post Office Box 9261
                             Portland, Oregon 97207

                             Pro Se Plaintiff


by the following indicated method or methods on the date set forth below:


       CM/ECF system transmission.
       E-mail.
       First-class mail, postage prepaid.
       Hand-delivery.
                DATED this 11th day of May, 2015.




                                                       s/Andrea M. Barton
                                                       Andrea M. Barton, OSB No. 092760

                                                       Of Attorneys for Defendants Angela M. Mettie,
                                                       David T. Bearden, Jeri Hemmer, Roni Sue,
                                                       Angelo Gomez, and Edward J. Ray




Page 1 -     Certificate of Service
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